UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

JANE DOE,
Case No.: 2:21-cv-1232 (GRB) (ST)
Plaintiff,
STIPULATION

-against-

LONG ISLAND MOTORS, INC., and DAVID
DELVECCHIO,

Defendants.
x

IT IS HEREBY STIPULATED AND AGREED, by and between the parties, by and

through their respective undersigned counsel, that — pursuant to Rule 62(b) of the Federal Rules
of Civil Procedure — that all restraining notices in this case are lifted on the following terms
pending the traverse hearing set forth in the Hon. Gary R. Brown, U.S.D.J.’s Order dated
November 27, 2023:

1. Defendants shall post a bond in the amount of $337,169.11 representing the
judgment amount of $323,961.16 plus post judgement interest in the amount of $13,207.95. Until
said bond is posted, cleared, and filed on the docket all restraints shall remain in place;

2. Upon the posting, clearing and filing of the aforesaid bond, Defendant Long Island
Motors, Inc. (the “Dealership”) shall be permitted to operate its business in the normal course by
selling vehicles and paying all ordinary expenses only;

3. Defendants are prohibited from: (1) selling the business; (2) creating an alter ego
company; (3) setting up a new corporation for Long Island Motors to do business with; (4)
utilizing any corporation aside from Long Island Motors, Inc. to do business; (5) transferring
bank accounts; and (6) making any transfer of assets outside the ordinary course of its normal
business under pain of contempt and sanctions;

4. Defendant Delvecchio is prohibited from: 1) selling any business or property that
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he has any ownership of whatsoever; and 2) transferring and funds in his bank accounts under
pain of contempt or sanctions. Upon the posting, clearing and filing of the aforesaid bond
Defendant Delvecchio’s restrained accounts will be released.

5. The parties reserve all rights pending the Court’s decision on Defendants’
emergency Order to show cause to vacate the default judgment following the traverse hearing,
including — without limitation — Plaintiffs calculation of post-judgment interest;

6. If following the traverse hearing, the judgment remains in place, all restraining
notices in this case shall be immediately reinstituted, and Defendants shall turn over the full
amount of the judgment, $323,961.16, plus interest in the amount of $13,207.95, within seven
(7) days under pain of contempt and sanctions.

7. On January 2, 2024 the parties shall attend a private mediation with Dina

Jansenson of JAMS once the bond is posted, cleared, and filed on the Docket in this matter 2:21-

cv-1232 (GRB) (ST) before proceeding to a traverse hearing.

8. The Defendants will pay for the cost of private mediation with Dina Jansenson.

Dated: New York, New York
December 8, 2023

PHILIPS & ASSOCIATES

/s/

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Attorneys for Plaintiff
Jane Doe

Dated: New York, New York
December 8, 2023

Dated: Lake Success, New York
December ws 2023

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Attorneys for Defendant

Long Island Motors, Inc.

Dated: Fresh Meadows, New York
December 8, 2023
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jbarton@csm-legal.com Attorneys for Defendant
David Delvecchio

Attorney for Plaintiff

Jane Doe

Dated: Central Islip, New York
December __, 2023
SO ORDERED:

Steven L. Tiscione, U.S.M.J.
